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                        UNITED STATES BANKRUPTCY
                         DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION
******************************************************************************

In re:                                                      Case # 05-30027
SI TANKA UNIVERSITY,                                        Chapter 11

        Debtor.                                      WITNESS AND EXHIBIT LIST

******************************************************************************

       COMES NOW the Debtor, by and through its attorney of record, and provides Debtor’s
Witness and Exhibit List for the hearing set for November 29, 2005, at 1:15 p.m., in reference to
Debtor’s Motion for Extension of Time to File a Plan and Gain Acceptance.

WITNESS LIST:

   1.   Francine Hall, President, Si Tank a University.

EXHIBIT LIST:

   A. None identified at this time.

        Dated this 4th day of November, 2005.
                                                    Stuart, Gerry & Schlimgen,
                                                    Prof. LLC:

                                             By: /s/ Clair R. Gerry
                                                 Clair R. Gerry
                                                 Attorne y for Si Tanka
                                                 507 W. 10th Street
                                                 PO Box 966
                                                Sioux Falls, SD 57101-0966
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